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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA

                       CASE NO . 16-61728-CIV-ZLOCH

 SYMBOLOGY INNOVATIONS, LLC,

              Plaintiff,

 VS.                                     FINM     QK ER Q.
                                                         V DISM ISSM

 BEST BDY CO , INC ., BESTBUY .COM ,
 LLC , and BEST BUY STORES, L .P.,

              Defendants .
                                    /
       THIS MATTER is before the Court upon the Joint Motion
 Dism iss             filed herein by all Parties .         The Court has
 carefully reviewed said Motion, the entire court file and
 otherwise fully advised        the prem ises .
       Accordingly, and after due consideration ,          is
       ORDERED hun ADJUDGED as follows:
            The Joint Motion To Dismiss (DE 19) filed herein by a1l
 Parties be and the same is hereby GQAHTED ;
            The above styled cause be and the same is hereby DISM ISSED

 with prejudice; and
            To the extent not otherwise disposed of herein, a11 pending
 motions are DENIED as moot .
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                     sD F *day ofAugust, 2016.

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                                    WILLIAM J . ZLOCH
                                    United States District Judge

 Copies furnished :
 All Counsel of Record
